Dear Secretary Carnahan:
This opinion letter responds to your request dated March 13, 2008, for our review under Section 116.332, RSMo, of the sufficiency as to form of an initiative petition submitted by Todd Jones (version 5).
We conclude that the petition must be rejected because the measure does not contain an enacting clause in the form required under ArticleIII, Section 50 of the Missouri Constitution.
Because of our rejection of the form of the petition for the reason stated above, we have not reviewed the petition to determine if additional deficiencies exist. Pursuant to Section 116.332.3, RSMo, the Secretary of State is authorized to review this opinion and "make a final decision as to the approval or rejection of the form of the petition."
Very truly yours,
JEREMIAH W. (JAY) NIXON, Attorney General *Page 1 